                           IN THE UNITED STATES COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

LORI WASHINGTON, ex rel. J.W.                §
     Plaintiffs,                             §
v.                                           §
                                             §       Civil Action No. 4:21-cv-204
KATY INDEPENDENT                             §
SCHOOL DISTRICT                              §
    Defendant.                               §

                          PLAINTIFFS’ ORIGINAL COMPLAINT

        NOW COMES Lori Washington natural mother of and on behalf of her son J.W., who

executed a valid power of attorney for her to represent him as Attorney-In-Fact (collectively

“Plaintiffs” herein), and files this their Original Complaint against Katy Independent School

District (“KISD” or “School District”) as follows:

                                       I. JURISDICTION

1.      This action arises under the Individuals with Disabilities Education Act (“IDEA”), 20

        U.S.C. § 1415(i)(2)(A). Jurisdiction is conferred upon the Court pursuant to IDEA, 20

        U.S.C. § 1415(i)(3)(A).

                                           II. VENUE

2.      Venue properly lies in this Court pursuant to 28 U.S.C. § 1391(b).

                                         III. PARTIES

3.      J.W. lives with his mother, Lori Washington. The last known address was 4607 Hickory

        Downs Drive, Houston, Texas 77084, within the KISD catchment area. On or about

        November 22, 2017, J.W. executed a valid power of attorney giving Lori Washington

        standing to bring this First Original Complaint on behalf of J.W.


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4.      The Katy Independent School District is a School District organized under the laws of the

        State of Texas. At all times pertinent to this case, J.W. was a student at the Katy

        Independent School District. KISD can be served through its Superintendent, Dr. Lance

        Hindt at 6301 South Stadium Lane, Katy, Texas 77494 or alternatively, through either the

        Justin Graham or Alaina Smith, both attorneys working within the Office Of General

        Counsel for the School District.

                                IV. PROCEDURAL RESUME

5.      On or about December 4, 2017, Plaintiffs filed the original request for a due process

        hearing (“the Petition”) that included the Individuals With Disabilities Education Act

        (“IDEA”), the Americans with Disabilities Act (“ADA”), Section 504 of the

        Rehabilitation Act of 1973 (“Section 504"), and Constitutional Claims pursuant to 42

        U.S.C. Section 1983. (hereinafter referred to as “JWI”). The School District filed a Plea

        To The Jurisdiction seeking dismissal of all non-IDEA claims. Further, that since the

        incident giving rise to the case occurred on November 30, 2017 then all (emphasis added)

        Plaintiffs’ claims were limited by the statute of limitations, as contemplated by 19 TAC

        1151©. Plaintiffs argued that a number of tolling theories were operative and in any case

        certain claims were filed within the limitations period. The Hearing Officer agreed with

        the School District and Plaintiffs appealed at Civil Action No. 4:18-cv-2752.

6.      Plaintiffs filed a Motion For Summary Judgment and the District filed their Response.

        The District Court agreed with J.W. in part and the School District in part, remanding the

        case back to the Texas Education Agency, to address claims that J.W.’s right to a FAPE

        was violated by the School District after (emphasis added) December 4, 2018.


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7.      J.W. filed a request for a Due Process Hearing with the Texas Education Agency

        (“TEA”) and that a Special Education Hearing Officer (“HO”) be appointed. On August

        24th and 25th of 2020 a hearing was convened. On October 23, 2020 the Hearing Officer

        determined that Plaintiffs’ did not meet their burden of proof on allegations the District

        violated J.W.’s right to a FAPE in the relevant time period. Plaintiffs now appeal the

        Hearing Officer’s infirm decision. .

                     V. NATURE OF ACTION AND RELIEF SOUGHT

8.      This action is brought under IDEA and appeals the decision of a Special Education

        Hearing Officer appointed by the Commission of Education of the State of Texas to

        consider the tolling of the one-year statute of limitations pursuant to 19 Tex. Admin.

        Code § 89.11519(c) and 20 U.S.C. § 1415(f)(3)(D). The hearing officer issued a decision

        on October 23, 2020 finding that Plaintiffs’ failed to meet their burden of proof on claims

        the School District filed to provide J.W. what is termed a Free And Appropriate Public

        Education (“FAPE”) as otherwise required by the Individuals With Disabilities Education

        Act. As will be more fully shown below and over the course of this litigation, the

        Hearing Officer’s decision was contrary to the applicable law, and was not supported by

        the evidence presented by the parties.

                                   VI. FACTUAL RESUME

A.      ABOUT J.W.

9.      J.W. was born on June 29, 1999 and as of this writing is twenty-ones years old. His

        mother, Lori is a former Correctional Officer and his father is a Police Officer. In fact

        before the Tasing Incident he looked up to police as heroes. During the relevant time


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        upon which this cause is based they lived in the Katy ISD catchment area and J.W. was a

        student at Mayde Creek High School. In late August of 2017 Hurricane Harvey hit Texas

        and since that time he and his mother have often been homeless.

10.     Prior to attending school at the Katy ISD J.W. went to the Cy-Fair ISD where he was

        diagnosed with Intellectual Disability (a/k/a mental retardation) and an Emotional

        Disturbance which carried to his new school. His mental and behavioral disabilities affect

        his daily functioning, ability to communicate and control his emotions. As such he was a

        recipient of Special Education Services as contemplated by the Individuals With

        Disabilities Education Act (“IDEA”). J.W. communicates well when he is calm. Because

        of his disabilities he was easily victimized at the hands of other students and would get

        upset as his ability to communicate calmly and receive information is affected. His

        reading is at best, a third or forth grade level and while at Cy-Fair children made fun of

        his mental retardation.

B.      J.W. TRANSFERS FROM CY-FAIR ISD TO KATY ISD

11.     When J.W. transferred to the Katy ISD he was moved into a self-enclosed classroom and

        was provided behavioral accommodations. One was called the PASS (“Positive Approach

        to Student Success”) Program which included social skills, behavioral supports and other

        types of individual applications for students like J.W. The program is set up to have the

        PASS representative walk by the classroom approximately every 15 minutes to see if any

        student is in distress and if so walk with the student to a quiet spot. Of course, a student

        could do it on their own. J.W’s IEP determined he would have use of the PASS system

        services for 180 minutes every six weeks, or about 30 minutes per week, though its usage


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         depended upon his needs. The District had no way to determine how much is used or its

         effectiveness.

C.       J.W. IS TASED BY THE SCHOOL RESOURCE OFFICER

12.      On November 30, 2016 J.W. was being bullied by another student in his special-needs

         classroom and became upset. In order to calm himself down J.W. attempted to retreat to

         his “safe space” or “chill out room” to take a break as contemplated in the PASS

         Program. Unfortunately the safe space was unavailable and there was no “back-up plan.”.

         He then decided to walk outside of the school to calm himself, but District staff blocked

         his exit. A School Resource (Police) Officer shot J.W. repeatedly with a Taser Gun which

         caused hin to urinate and defecate on himself. He was absolutely traumatized by the

         incident and was and is still scared to return to school. He and his mother went to a

         physician who advised him to stay home until the Katy ISD could address the trauma.1

13.      Mother learned there was a video of the incident. Shortly after the incident occurred she

         asked to School Officials if she could see the video of the incident but was not able to do

         so. On December 16th what is termed an Admission, Review & Dismissal (“ARD”)

         Committee Meeting was convened but the Committee refused to discuss the incident.

         She tried to speak with numerous people to find out what happened, and even went to the

         Superintendent’s Office, but no one would be truthful with her. She did eventually see

         the video of the incident.

D.       AFTER THE INCIDENT J.W. IS ABSENT FROM SCHOOL


1. Petitioners submitted the videos as an exhibit. The School District objected and the Hearing Officer granted said
objection. Petitioners asked for an Offer of Proof and plan to file a motion with this court so that this Additional
Evidence” be accepted into the appeal.

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14.     J.W. returned to school for a brief period in January of 2017. A parent of a female

        student had called J.W. and the School District, concerned that he had shared sexually

        explicit text messages with his daughter.    He was removed from class where he was

        questioned by SRO Paley and another ISD SRO who had been involved in his tasing. His

        phone was confiscated and never returned. After this incident with the SRO’s J.W. did

        not attend school for many months. One reason was because he was embarrassed and

        humiliated because he had defecated and vomited during the Tasing Incident. Another

        was because he was terrified of Police Officers. His Counselor told him that when he

        saw an Officer at school he should drop to his knees and hold up his hands, so as to avoid

        additional trouble.

15.     The District refused to discuss what led up to the Tasing Incident, the trauma it caused

        J.W. , or his fear of the police. Accordingly, no accommodations or change to his IEP or

        BIP was ever discussed. As a result he did not feel safe at school. His mother went to

        the school in person several times attempting to procure help for J.W. and recollects that

        between the Tasing and May 22nd ARDC Meeting, she requested an ARD committee

        meeting at least four (4) times. Each time she told the staff person she was speaking with

        she wanted to discuss what transpired in J.W. ’s classroom prior to the Tasing Incident

        but no one would do so.

E.      THE DISTRICT DOES NOT SEEK INFORMATION FROM HIS PROVIDERS

16.     KISD never requested any documents, authorizations, or completed consent forms from

        Ms. Washington related to provision of homebound services for J.W. KISD never

        requested Ms. Washington authorize KISD representatives to speak with or obtain


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        information from J.W. ’s medical (Arnold Carruthers) or mental health care providers.

        Ms. Washington never received consent forms from KISD related to provision of

        homebound services and thus could not sign any such forms. Ms. Washington testified

        that, had she received such consent forms, she would have signed them, which makes

        sense as she given them the names of the physician and therapist in the first instance.

        Importantly, staff knew how to contact Ms. Washington through J.W. ’s brother. District

        staff testified at the hearing they tried a number of times to contact Ms. Washington about

        scheduling an ARDC Meeting and procuring the signatures for the consent forms but

        there is no documentation in support of this proposition. Rather during this same period

        mother repeatedly requested an ARDC Meeting be convened but it never was and then

        finally one was scheduled.

F.      THE SPRING OF 2017 AND THE ARD COMMITTEE MEETING

17.     In preparation for the ARDC Meeting the District completed a REED (Review Of Existing

        Evaluation Data). A close review shows that, for all practical purposes it’s a “carbon

        copy” of the REED completed by the Cy-Fair ISD completed in November of 2015 after

        J.W. (merely) hit another student. In fact, the last time last time J.W. had complete Full

        and Individual Evaluation (“FIE”) was in 2010.. This new REED failed to even list, let

        alone account for incidents occurring at the Katy including hitting a wall with a closed

        fist and injuring his knuckles and of course, the Tasing Incident. In fact, in listing all the

        various assessments that are part of the REED it has absolutely nothing from the period

        he is at the Katy ISD but merely repeated what was in the Cy-Fair ISD report.

        Importantly the new REED doesn’t address the failure of the previous PASS system, with


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        no “back up” plan for J.W. if he went to the PASS room and it was already occupied.

        The PASS program operative at the time of the Tasing remained the same. Nor was any

        de-escalation training for staff provided.

18.     The ARD Committee Meeting notes of May 22, 2017 reflect that mother told staff J.W.

        reported he believed staff at school hated him and he was going to die. Additionally he

        no longer wanted to leave the home. Mrs. Washington stated she wanted J.W. to go to

        school so he could be around other people but had concerns for him being around the

        Police Officers who tased and restrained him. She suggested that the LSSP, Jennifer

        Jones reach out to J.W. to assist in getting him back to school, also that the team

        someone contact his brother.       Also that staff contact her by phone for everything.

        Importantly, she again asked about what led up to hhe Tasing and how the PASS Program

        failed. His home room teacher Mr. Cupp noted J.W. ’s concerns about being bullied.

        The LSSP suggested a functional behavioral or counseling assessment be completed.

        Kathy Williams suggested an occupational therapy consult be provided. His graduation

        course requirements are decreased. Not surprisingly, the Behavior Intervention Plan

        remained the same. Mother signed necessary consents. The Notices for a FIE were

        completed and dated the same day as the ARDC Meeting for Emotional/Behavioral and

        Health but once again just like before when they had opportunity to do so, no one from

        the District ever filled it out, or actually presented to mother for signature.

19.     In the past the various ARD Committee’s addressed J.W. ’s transition wishes. For

        instance, while at Cy-Fair ISD he wanted to a Welder or in the Air Force (and liked

        cooking). At Katy ISD he talked about being a Firefighter. There does not appear to be


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        any IEP or plan on how actualize any of his wishes. There is no actual assessment. No

        one from an outside agency ever attended. Katy ISD staff were more interested in having

        J.W. graduate and get out of the District than be prepared for the outside world.

        Apparently it was the only way to stop the harassment he had and was still experiencing

        at school.

20.     During that May 2017 ARD committee meeting, Staff suggested the parties have a

        separate meeting to discuss the Tasing Incident, including the events in J.W. ’s classroom

        that precipitated the Incident but it never happened. Ms. Washington asked for additional

        supports for J.W. in the classroom to prevent future incidents like the Tasing, including

        additional options for de-escalation if J.W. became upset but none were provided. She

        again attempted to discuss the fact that J.W. continued to be harassed at school and was

        traumatized due to the tasing incident but KISD representatives forbid any such

        discussion and explained to her that this too was not the appropriate time to discuss these

        concerns.

21.     Ms. Washington was not in agreement with the IEP devised that day because KISD forbid

        discussion of the tasing. In fact, when asked to sign the IEP signature page, she protested

        and explained she was not in agreement because a discussion of the events in J.W. ’s

        classroom that precipitated the Incident was necessary to prevent a similar incident in the

        future. Nevertheless, staff told her she was required to sign the IEP because she agreed

        with the remainder of the IEP as well as to confirm her attendance at the ARD committee

        meeting.

22.     Near the end of the 2016-2017 school year, Ms. Washington went to the school in person


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        and spoke with the KISD counselor to try to help her struggling son. Ms. Washington

        asked the counselor whether J.W. could attend a different school but was told he could

        but that this would be at her expense. She also asked the counselor about home schooling

        J.W. but was told that, because of J.W. ’s special needs and the fact that it was late in the

        school year, that was not an option for him. Even when mother requested the District

        provide transportation for him to go to another school so as to avoid the hostility he was

        experiencing, they refused to so so.

23.     Save for a few days in January J.W. did not attend school the rest of the entire Spring

        Semester.    The District’s Special Education Director agrees that he could not have

        received or benefitted from a Free Appropriate Public Education during this period. In

        fact, he got zeroes in all his subjects and didn’t pass necessary course work.

F.      A COUNSELING EVALUATION IS COMPLETED FOR J.W.

24.     On October 2, 20017 a Counseling Evaluation was completed by Jennifer Jones, LSSP. It

        reports he “missed several days of school” and is fearful of school because of a

        “significant incident.” Like everyone else at the Katy ISD she refuses to even discuss his

        absenteeism, school phobia, hatred of staff and himself and as a matter of course, failed to

        address in any remedial way a manner to address these problem. The evaluation noted

        J.W. was seeing a private doctor and therapist but she failed to communicate with either

        about his needs. The evaluator rejected the idea he needed any counseling related to

        school or school phobia, or trauma or related educational issues.

G.      THE FALL 2017 ARD COMMITTEE MEETING

25.     On October 18, 2017 was being bullied by another student who stabbed him with a


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        pencil, so he got upset and punched the glass container protecting the fire extinguisher.

        On November 3, 2017, almost a year after the incident an ARD Committee Meeting was

        convened and Individualized Educational Plan (“IEP”) was developed but it failed to

        address any of the issues mother noted in the ARD Committee in April of the previous

        semester. The team rejected the need for counseling based upon the LSSP report. There

        was no change to the BIP even though J.W. continued to have major problems with

        bullying, self-injurious behaviors, attending school and school phobia.

26.     Save for a few days, J.W. did not attend much of school in August, September and

        October. The District’s Special Education Director again agreed that he could not have

        received or benefitted from a Free Appropriate Public Education during this period

        either.

27.     Between the May 22, 2017 ARD committee meeting and the Fall ARD committee

        meeting, not surprisingly J.W. still was not progressing academically. During that time,

        on of J.W. ’s teachers, Ms. Rice, called Ms. Washington and told her that it appeared that

        J.W. was not trying anymore. During that call, despite the fact that J.W. could attend

        school until he was at least 21 years of age, Ms. Rice also recommended that Ms.

        Washington should agree to accept the graduation plan so he could graduate and leave

        KISD. She admitted this was the only way to end the harassment J.W. experienced at

        school.

H.      J.W. ’S CURRENT STATUS

28.     Since the Tasing Cognitive Testing demonstrates his IQ went down. Currently, J.W. does

        not leave the family’s home and has no friends and won’t even go to counseling anymore.


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        He ev en quit going to church because it began having security guards present during

        church services. The last time he became so incredibly upset, he began rocking back and

        forth, hitting himself in the head and begging to leave, so the family did so. Even though

        the rest of the family has regular gatherings J.W. is longer attends due to his unresolved

        trauma. J.W. overeats to comfort himself, is far less active and has gained approximately

        100 pounds.

I.      REMEDIES THAT LORI WASHINGTON WANTS FOR HER SON

29.     At the Hearing Ms. Washington stated want the Hearing Officer to Order the District to

        fulfill its duty to provide her son a Free Appropriate Public Education an Order an FIE in

        all areas of his disability, including for emotional and behavioral needs, assistive

        technology, recreation and leisure and social skills. All these are important because he is

        not engaging with the outside world, continues to struggle with academic tasks, like

        reading and math and has no work skills. Recently he has shown an interest in animals.

        Additionally, s believes he would benefit from counseling, as well as Family Counseling

        and In-Home & Family Support Services for everyone. Further, based upon all the time

        he missed school in she could like him to receive a couple of hundred hours in

        compensatory education and permit him to remain in school past his 22nd birthday to

        receive such services.

                     VII. ISSUE(S) THE HEARING OFFICER CONSIDERED

30.     Whether the School District failed to provide J.W. a safe, non-hostile educational
        environment, thus denying Student educational opportunities (as evidenced by persistent
        bullying).

31.     Whether the School District failed to implement Student’s Individualized Education
        Program (“IEP”) and Behavior Intervention Plan (“BIP”) by failing to use positive

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        behavioral interventions and supports, and other identified strategies to address Student’s
        behaviors that were established in Student’s IEP/BIP.

32.     PROCEDURAL: Whether the School District failed to convene an Admission, Review &
        Dismissal (“ARD”) Committee Meeting and significantly impeded the Parent’s
        opportunity to participate in decision making process regarding the provision of FAPE.

33.     PROCEDURAL: Whether the School District failed to appropriately respond to and
        remedy the effects of the incident on Student, including:

        a.      Petitioner was forced to keep Student home after he was tased “due to fear for his
                safety while at school”;

        b.      Petitioner repeatedly requested an IEP committee meeting, but the School District
                did not schedule one until April 24, 2017, which the School District then
                cancelled;

        c.      at the rescheduled meeting on May 22, 2017, the School District refused to
                discuss the tasing;

        d.      the School District never scheduled a meeting to discuss the tasing; and

        e.      the School District never responded to Petitioner’s requests to speak to a
                counselor about how Student’s plan would address the anxiety he suffered at
                school from the tasing.

                       VIII. THE HEARING OFFICER’S DECISION

34.     J.W. filed a Post Hearing Brief addressing the above noted issues and the District filed

        their own. Among many items, he argued that because he received absolutely no

        educational services in the Spring of 2018, the School District failed to fulfill its mandate

        to provide him a FAPE during that period. Even though District staff agreed with

        Plaintiff on this issue, amazingly the Hearing Officer found for the School District. This

        finding was a gross error of law.

35.     Of course one of the reasons he was not provided any academic or non-academic services

        in the Spring of 2018 was because the School District failed to call an Admission, Review


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        & Dismissal Committee (“ARDC”) Meeting even though they were required to do so

        under state law and related regulations. J.W. argued this per se failure to follow the law

        also effected his ability and right to receive a FAPE. The Hearing Officer rejected J.W.’s

        argument even though the facts and law are absolutely clear and unequivocal. This too

        was a gross error of law.

36.     The evidence is absolutely overwhelming that J.W. was traumatized by the tasing

        incident. The evidence is uncontroverted that mother brought up this concern in almost

        every single interaction with District Officials. The evidence is likewise uncontroverted

        that not only did the District fail to provide a J.W. any service to address his trauma, they

        refused to even talk about it at the ARDC Meetings. address these concerns. J.W. argued

        that this failure to address this absolute primary concern absolutely violated his right to a

        FAPE. The Hearing Officer again rejected J.W.’s argument even though the facts and

        law are once again, absolutely clear and unequivocal. Once again, the Hearing Officer

        committed a gross error of law.

37.     In the Fall 2018 semester J.W. barely went to school. He should have once again

        received zeroes in all his classes but his teacher decided to give him passing grades for

        the few days he was in attendance so he could graduate. J.W. argued he did not receive a

        FAPE during this period as well. Nevertheless, the Hearing Officer again found for the

        School District. This finding was also a gross error of law.

38.     There are additional errors by the Hearing Officer that J.W. will later address in his

        Motion For Summary Judgement on the topic.

                                    IX. CLAIMS FOR RELIEF


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39.     The Hearing Officer’s findings of fact and conclusions of law with respect to J.W.’s

        claims the School District failed to provide him a Free Appropriate Public Education

        during the relevant time period were legally erroneous and directly contrary to the

        evidence and thus, it should be reversed and vacated by this Court. Accordingly the

        District Court should GRANT this appeal. f

                                X. CONCLUSION AND PRAYER

40.     WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that the Court receive the

        records of the administrative proceedings as required by the IDEA, and GRANT any

        future request for additional evidence, and:

        a.      find that the School District failed to provide J.W. a FAPE during the period in

                question, whether in total or in part;

        b.      that the Hearing Officer erred in characterizing the facts;

        c.      that the Hearing Officer erred in applying the law;

        d.      that this Court should enter a judgment reversing and vacating the Hearing

                Officer’s decision;

        e.      that Plaintiffs be declared prevailing parties and have attorneys fees and relevant

                costs reimbursed by the School District; and

        f.      any other and further relief as the Court determines is appropriate, whether at law

                or equity or as to both.

                                               Respectfully submitted,

                                               /s/ Martin J. Cirkiel
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